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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SAMUEL OWEN and
TRAVIS BEAVERS,
                                      CIVIL ACTION F I L E
      Plaintiff,                      NO. l:15-cv-04324-MHC

V.


GYPSY STAG, L L C d/b/a
HANGOVERS BUCKHEAD
and GARY R. P U R C E L L ,

             Defendants.



                                CONSENT ORDER

      This action came before the Court and the parties having consented to and

requested the entry of this Consent Order,

      It Is Hereby Ordered and Adjudged as follows:

      1.     That Plaintiff Samuel Owen ("Owen") is to recover from Defendants,

jointly and severally, the total amount of $40,000 (the "Owen Settlement

Amounf), payable in monthly installments of $1,000 beginning on August 1,

2016, and monthly installment payments increasing to $2,000 begimiing on May 1,

2018 until the debt is satisfied;

      2.     That Plaintiff Travis Beavers ("Beavers") is to recover from

Defendants, jointly and severally, the total amount of $20,000 (the "Beavers
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Settlement Amount") payable in monthly installments of $1,000 beginning on

August 1, 2016 until the debt is satisfied;

      3.     That Plaintiffs' Counsel, Schulten Ward Tumer & Weiss, LLP, is to

recover from Defendants, jointly and severally, the total amount of $6,500 (the

"Attomeys' Fees") payable within 60 days ofthe entry ofthis Order;

      4.     That upon entry of this Consent Order, the Clerk is DIRECTED to

administratively close this civil action;

      5.     That once Defendants have paid the entire Owen Settlement Amount,

the entire Beavers Settlement Amount and the entire Attomeys' Fees in accordance

with the terms of this Consent Order, Plaintiffs shall file with the Court a dismissal

with prejudice, dismissing this case in its entirety;

      6.     That if, however. Defendants do not comply with the payment terms

set forth in paragraphs 1-3 of this Consent Order, including but not limited to by

failing to make a timely monthly payment or by failing to render a Monthly

Payment in full, Plaintiffs shall promptly provide written notice to Defendants as

set forth in Paragraph 7 below, that Defendants are in default ("Notice of

Defauh");

       7.    That any Notice of Default shall be provided by Plaintiffs to

Defendant, by e-mail and by certified mail, with a copy to Defendants' counsel via




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e-mail, stating the specific monthly payment and amount that is past due,

addressed as follows:

            Defendants:                      Gary R. Purcell
                                             Gypsy Stag, LLC
                                             3188 Roswell Road
                                             Atlanta, GA 30305

            Copy to Counsel:                 David L. Pardue
                                             Owen Gleaton Egan Jones «&
                                             Sweeney, LLP
                                             Suite 3000
                                             1180 Peachtree Street, N E .
                                             Atlanta, Georgia 30300
                                             dpardue@og-law.com

      8.    That upon delivery of a Notice of Default in accordance with

Paragraph 7, Defendants will have ten (10) calendar days from the date of the

Notice of Default in which to cure the default by providing payment to Plaintiffs'

counsel of the full amount due for the delinquent Monthly Payment referenced in

the Notice of Default;

      9.    That i f Defendants fail to cure the default by providing payment to

Plaintiffs' counsel of the full amount due for the delinquent Monthly Payment

within the ten (10) day cure period. Plaintiffs' counsel may promptly file an

Affidavit with this Court, served on Defendants' counsel via e-mail and U.S. mail

as set forth in Paragraph 7, above, attesting to the fact that Defendants are in

default of their payment obligations under the terms of this Consent Order, and that

Defendants are entitled to a final consent judgment in the amount of $90,000, less


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the amounts already paid by Defendants to Plaintiffs and Plaintiffs' counsel under

this Consent Order (the "Final Judgment Amounf), in a form similar to the

attached exhibit, in amounts which shall accrue post-judgment interest at a rate

authorized by law from date the consent judgment is entered;

      10.   That no sooner than five (5) days after the filing of such an Affidavit

by Plaintiffs' counsel, this Court shall enter the Consent Judgment against

Defendants, jointly and severally; and

      11.   That Defendants shall have no right to oppose the entry of final

judgment of this Court, as set forth in paragraphs 9 and 10, except upon

presentation of swom testimony and documentary evidence that Defendants have

not, in fact, defaulted on their payments to Plaintiffs pursuant to the terms of this

Consent Order.

      12. The Eleventh Circuit requires that settlements in cases brought under the

Fair Labor Standards Act, 29 U.S.C. §201, et seq. ("FLSA") be supervised by the

Secretary of Labor or approved by a Court. Lynn's Food Stores, Inc. v. U.S. ex rel.

U.S Dept. of Labor, 679 F.2d 1350, 1352-54 ( l l t h Cir. 1982). Before entering a

stipulated judgment, the Court must determine that the proposed settlement is a fair

and reasonable resolution of a bona fide dispute over FLSA provisions. Lynn's

Food Stores, 679 F.2d at 1354.




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      The proposed payments identified above reflect a reasonable compromise of

a bona fide dispute regarding Defendants' FLSA liability and damages.

Defendants did not concede that Plaintiffs were misclassified as independent

contractors, and the Parties disputed the actual number of hours Plaintiffs worked

during the relevant time period. Because the Parties disputed the total number of

hours Plaintiffs worked, they also disputed the amount of damages Plaintiffs would

have been entitled to i f this case had gone to trial. The Parties also disputed

whether the applicable statute of limitations was two years or three years and the

resolution of that issue could have significantly impacted Plaintiffs available

damages.

      In light of these disputes regarding FLSA liability and damages, the Court

finds that the compromise reached by the parties is reasonable. Under this Consent

Order, Defendants are paying an amount which is more than they believe is owed

to Plaintiffs, and Plaintiffs are accepting an amount less than they believe is owed

in back wages and liquidated damages, however, the amount agreed upon is the

result of an arm's length compromise between the Parties. Plaintiffs may have

worked more or fewer hours, but, as mentioned above, many facts and legal issues

remained in dispute, so this settlement represents a reasonable compromise in light

of the risks posed to both parties by continued litigation. The Consent Order also

provides for a payment from Defendants to Plaintiffs counsel of $6,500 for



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attorneys' fees and expenses. The Court finds this amount to be reasonable since

Plaintiffs' counsel actually incurred fees in excess of $14,000 (as of July 20, 2016)

and expenses of litigation (as of July 8, 2016) in the amount of $512.14. The gross

settlement amount is to be payable by Defendants over time, as described in

Paragraphs 1-3, supra.    Since the Plaintiffs are assuming the risk of a possible

default in payments, the Parties have agreed to an enhanced consent judgment,

reduced by amounts actually paid by Defendants, in the event of an uncured

default in payments, which the Court also finds to be reasonable since the proposed

consent judgment is unsecured.




                                 MARKH. COHEN
                                 United States District Judge




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APPROVED AND CONSENTED TO:


/s/David L. Pardue (hvDRF           /s/ Dean R. Fuchs
w/permission)                       Dean R. Fuchs
David L. Pardue                     Georgia Bar No. 279170
Georgia Bar No. 561217
                                     Schulten, Ward Tumer & Weiss, LLP
Owen, Gleaton, Egan, Jones &         260 Peachtree Street, Suite 2700
Sweeney, LLP                         Atlanta, GA 30303
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Atlanta, Georgia 30309               d.fuchsfSjswtwlaw.com
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dpardue@og-law.com                  Attorney for Plaintiffs
Attorney for Defendants




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